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UNITED STATES OF AMERICA                        )
                                                )   No. 1:21-CR-00128
         v.                                     )
KEVIN SMITH                                     ) Motion for Discovery
                                                ) Conditional Acceptance
                                                ) Motion to Dismiss

                          Filed using Registered Mail# RF 509 140 026 US

               Motion for Discovery - Condttional Acceptance      -   Motion to Dismiss

Please be advised that it is not now, nor has it ever been, my intention

to avoid paying any obligation that I lawfully owe. I am not refusing to

pay. Further, I have no desire to create any controversy before the

court.

Therefore, I accept everything you have offered upon the following conditions. Also, I can offer

a plea   of "guilty to the facts but innocent of a crime", upon proof of claim by the complete

answers to these discovery items:

    1.    Provide admissible evidence, and the name of a fact witness who will testify that I am a

          decedent as named in your indictment.

   2. Provide admissible evidence and the name of a fact wiffress who will testiff     that my

          given original name is not Smith, Kevin as opposed to the estate or trust name on the

          documents listed as   KEVIN SMITH.

    3.    Provide admissible evidence and the name of a fact witness who will testiff that I have

          accepted liability for the named decedent, as surety.
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4.   Provide admissible evidenceo and the name of a fact witness who will testiff that I,

     Smith, Kevin, am not only the beneficial interest holder of the estate named KEVIN

     SMITH, as named in this matter. Lack of providing this would stand as evidence of a

     wrong parlry claim.

5.   Provide admissible evidence, and the name of a fact witness who will testifr that

     Defendant as named herein, has knowingly and willingly worked for, worked with, or

     associated with the entity or entities known as The Greater Illinois Home Owners Union

     andNorft American Capital Group Corporation.

6. Provide admissible evidence, and the name of a fact witness who      will testifu that

     Defendant as named herein, has knowingly and willingly worked for, worked with, or

     associated with the entity or entities known as Grand Bank, N.A.; Mortgage Services lll,

     LLC; lnland Home Mortgage Company; Mortgage Solutions of Colorado; Guaranteed

     Rate, lnc.;and 360 Mortgage Group, LLC.

7.   Provide admissible evidence, and the name of a fact witress who will testiff that

     Defendant as named herein, did knowingly participate in a scheme to defraud financial

     institutions to obtain money and funds owned by and under the custody and control of

     financial institutions by means of materially false and fraudulent pretenses,

     representations, and promises, and by concealment of material facts in this matter.

8.   Provide admissible evidence and the name of a fact witress who will testi$ that

     Defendant as named herein, promised to pay, and did pay, the buyers a "grant" of as

     much as $20,000 after closing the buyers'purchase of property.

9.   Provide admissible evidence and the name of a fact witness who will testifr that

     Defendant as named herein, arranged to be paid, and was paid, money by the sellers, after

     the closing of any buyers' purchase of property.
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10. Provide admissible evidence and the name     of a fact witress who will testiff that

   Defendant as named herein, knowingly recruited and caused to be recruited individuals to

   sewe as buyers to purchase properties, including properties in Chicago, Illinois located

   at:5649 S. Princeton Avenue, 6628 S. Carpenter Sffeet, 5429 S. Bishop Street, 4246W.

   Adams Sfreet,325 W.59th Place,43l0 W. Monroe Sffeet, 4437 W. Adams Street, 5136

   S. Throop Street, 5243 S. Damen Avenue, 6023 S. May Street , 6616 S.        Laflin Street,

   5942 S. Sangamon Sffeet, 6554 S. Winchester Avenue, and6142 S. Morgan Street, and

   that I had knowledge that the buyers would be fraudulently qualified for mortgage loans

   to purchase the properties.

11. Provide admissible evidence and the name of a fact witness who      will testiff that

   Defendant as named herein, prepared and submitted, and caused to be submitted, to

   financial institutions applications, knowing such applications contained false and

   fraudulent information about the buyers' qualifications for mortgage loans, including

   false and fraudulent information about the buyers' marital status, source of down

   payment, and intention to occupy the property purchased as a primary residence.

12. Provide admissible evidence and the name     of a fact witness who will testiff that

   Defendant as named herein, caused to be prepared and submitted to financial institutions

   fraudulent documents while knowing that such documents supported the false

   information contained in loan applications.

13. Provide admissible evidence and the name of a fact witness who      will testiff that

   Defendant as named herein, provided and caused others to provide funds to buyers or to

   individuals purportedly providing gifts to buyers, and that I had knowledge such funds

   would be used as the buyers' down payments, while knowing these funds had been
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   fraudulently represented to financial institutions as having come from the buyers

   themselves or from relatives purportedly providing gifts to the buyers.

14. Provide admissible evidence and the name   of a fact witness who will testiff that

   Defendant as named herein, caused buyers to falsely state that they intended to live in the

   properties they were purchasing as their primary residence, that I had knowledge that

   such buyers' statements were untrue and that my thought and plan was to rent out the

   properties.

15. Provide admissible evidence and the name of a fact witness who    will testifu that

   Defendant as named herein, knowingly executed, and attempted to execute the scheme to

   defraud by causing Grand Bank, N.A., a financial institution, to fund a mortgage loan in

   the amount of approximately $190,056 for a buyer's purchase of 5649 S. Princeton

   Avenue, Chicago, Illinois; In violation of Title 18, United States Code, Section 1344.

16. Provide admissible evidence and the name of a fact witness who    will testiff that the

   Defendant as named herein, knowingly executed, and attempted to execute the scheme to

   defraud by causing Grand Bank N.A., a financial institution" to fund a mortgage loan in

   theamountof approximately$175 ,437 for abuyer'spurchase of 6628 S. Carpenter

   Street, Chicago, Illinois; In violation of Title 18, United States Code, Section 1344.

17. Provide admissible evidence and the name of a fact witness who    will testiff   that the

   Defendant as named herein, knowingly executed, and attempted to execute the scheme to

   defraud by causing Mortgage Services    III, LLC, a financial institution, to fund a

   mortgage loan in the amount of approximately $157,102 for a buyer's purchase         of 4246

   W. Adams Street, Chicago, Illinois; In violation of Title 18, United States Code Section

   1344.
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18. Provide admissible evidence and the name of a fact witress who       will testify that the

   Defendant as named herein, knowingly executed and attempted to execute the scheme to

   defraud by causing Mortgage Services     III, LLC,   a financial institution, to fund a

   mortgage loan in the amount of approximately $190,056 for a buyer's purchase of 325

   W. 59th Place, Chicago,Illinois; In violation of Title 18, United States Code, Section

    1344.

19. Provide admissible evidence and the name of a fact witness who       will testifu that the

   Defendant as named herein, knowingly executed and attempted to execute the scheme to

   defraud by causing 360 Mortgage Group, LLC, a financial institution, to fund a mortgage

   loan in the amount of approximately $175,787 for a buyer's purchase of 6142 S. Morgan

   Street, Chicago, Illinois; In violation of Title 18, United States Code, Section 1344.

20. Provide admissible evidence and the name of a fact witness who       will testiff that the

   judge and/or prosecutor(s) in this matter are in fact not the kustees and liable sureties for

   settling and closing this account, upon my acceptance. I rebut any presumptions to the

   contrary based on previous appearances or filings and disclaim being trustee/defendant as

   named.

21. Provide admissible evidence and the name of a fact wiftess who       will testify that the

   prosecutor(s) and parties such as judges, magishates, clerks, and other court-related

   ernployees and/or staff, do not have a reportable tax liability for the Alternate Value on

   their Carryover Basis in this matter.

22. Provide from all attorneys, agents, and prosecutors(s), their bond and/or insurance

   information for the record, and thus disclose their indemnity insurance carrier
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         information to me, in the event I am harmed. The bond they provide shall be further

         backed by lawful money, according to        Article I Section   10 of the US Constitution.

   23. Provide certified copies of the oath of office, bonds, and insurance policy claim

         information for all judges, magistrates, my own attorney, and prosecuting attomeys

         involved in this matter.

   24. Provide a written guarantee that judges, magisffates, my own attorney, and prosecuting

         attorneys involved in this matter guarantee to uphold all my God-given and

         Constitutional rights. Those rights shall be listed and guaranteed in writing by all parties.

   25. Provide proof of authority showing where any parties making a claim on the estate                of

         KEVIN SMITH or trying to administer it          are done so with my express written

         permission, as beneficiary.

      26.To assist these issues, and before proceeding, I require the 1099 OID from all parties for

         the ta:r due. Failing to provide this, I have no choice but to report this matter to The

         Treasury Inspector General, the IRS CID on form 4490 and 8281 or otherwise, as a report

         of   a   potential tax evasion, and further infonn the Postal Service and Universal Postal

         Union of such issues. I am duty bound as a private American to report such issues when I

         become aware of a public servant engaged in money laundering, mail fraud, fictitious

         conveyance of language under 18 UCS 1001, and as otherwise necessary.




I have presented and registered this document-vessel under the jurisdiction of the Universal

Postal Union by paying the transit fees of      $l   as the postmaster   cancelling the stamp of this

vessel, for this vessel's delivery and peaceful protection under registered mail# RE 509 140 026

US.
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Failing to provide these discovery items as proofs within the time specified, this document          will

also stand as a Motion to Dismiss with Prejudice for failure to state a claim for which relief can

be granted. This motion goes into effect     if all matters   are not   fully disclosed with supporting

admissible evidence and proofs within 14 days of receipt by the court and responded to under

oath by the responding parties.




Until such time all conditions above are proven and authenticated on the record, all previous

actions, orderso signatures, and pleas are now void, untiljurisdiction is proven on the record by

the prosecutor(s).




At any proceeding I will require all parties speaking to swear in, under penalties of perjury, or

the court agrees they are only speaking hearsay, and therefore their words and/or testimony is

inadmissible.



                                  Notice to principal is notice to agent.

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                                                 Printed Smith, Kevin
